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            IN THE UNITED STATES OF DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION


JOHN DOE,
                      Plaintiff,


vs.
                                         Civil Case No.: 1:20-CV-0402-SDG
BOARD OF REGENTS OF THE
UNIVERSITY SYSTEM OF
GEORGIA, UNIVERSITY OF
GEORGIA,
JERE WADE MOREHEAD,
INDIVIDUALLY AND AS                      JURY TRIAL REQUESTED
PRESIDENT UNIVERSITY OF
GEORGIA, UNIVERSITY OF
GEORGIA EQUAL OPPORTUNITY
OFFICE, ERYN JANYCE DAWKINS,
INDIVIDUALLY AND AS
DIRECTOR EQUAL OPPORTUNITY
OFFICE, UNIVERSITY OF
GEORGIA, UNIVERSITY OF
GEORGIA ATHLETIC
ASSOCIATION, INC., EDWARD

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MCMILLIAN TATE,
INDIVIDUALLY AND AS VICE
CHANCELLOR OF LEGAL
AFFAIRS, UNIVERSITY OF
GEORGIA AND C. DEAN ALFORD,
P.E., INDIVIDUALLY AND AS
MEMBER OF BOARD OF REGENTS
OF THE UNIVERSITY SYSTEM OF
GEORGIA.
                        Defendants.




                      FIRST AMENDED COMPLAINT

      COMES NOW JOHN DOE (hereinafter “Plaintiff” or “John Doe”) and files
this Complaint against BOARD OF REGENTS OF THE UNIVERSITY SYSTEM
OF GEORGIA, (hereinafter “Board”), University of Georgia, (hereinafter
“UGA”), JERE WADE MOREHEAD, INDIVIDUALLY AND AS PRESIDENT
OF UNIVERSITY OF GEORGIA, (hereinafter “Morehead”), UNIVERSITY OF
GEORGIA EQUAL OPPORTUNITY OFFICE, (hereinafter “EOO”), ERYN
JANYCE DAWKINS, (hereinafter “Dawkins”) INDIVIDUALLY AND AS
DIRECTOR UNIVERISTY OF GEORGIA EQUAL OPPORTUNITY OFFICE,
UNIVERSITY OF GEORGIA ATHLECTIC ASSOCIATION, INC., (hereinafter
“UGAAA”or UGA Athletic Association, Inc.), EDWARD MCMILLIAN TATE,
INDIVIDUALLY AND AS CHANCELLOR OF LEGAL AFFAIRS,
UNIVERSITY OF GEORGIA, (hereinafter “Tate”) and C. DEAN ALFORD, P.E.,
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INDIVIDUALLY AND AS MEMBER OF BOARD OF REGENTS OF THE
UNIVERSITY SYSTEM OF GEORGIA, (hereinafter “Alford”).


                                 INTRODUCTION


      1.      The Supreme Court of the United States has made clear that “state
colleges and universities are not enclaves immune from the sweep of the First
Amendment”.      Healy v. James, 408 U.S. 169, 180 (1972).         “With respect to
persons entitled to be there, our cases leave no doubt that the First Amendment
rights of free speech and association extend to the campuses of state universities.”
Widmar v. Vincent, 454 U.S. 263, 268 (1981).           Yet, University of Georgia,
maintains practices that subjects students like John Doe, to sanctions which include
but are not limited to suspended from school or classes; barred from attending
classes;   limited   to   attending   classes   remotely;   released   from   athletic
programs/teams; prohibited from participating in any UGA Athletic units, in any
capacity, for the duration of affiliation with UGA; and prohibited for a period of
time from attending all UGA Athletic events.
      Plaintiff, John Doe, has attempted to resolve this matter with all Defendants
and a UGA Coach Stricklin acting as agent for UGA and UGAAA by following
the required procedures and rules. At every attempt, the Defendants continued to
violate his rights and refused to follow the required procedure. Specifically the
EOO did not provide an impartial Officer resulting in excess sanctions, which
similar situated students/athletes did not receive and violated Plaintiff’s
constitutional rights. EOO Officer Dawkins, did not follow the required two (2)
person procedure for the Investigation and Hearing. Tate and Alford would not
allow Plaintiff or his Attorney the right to be heard at the hearing of Board of

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Regents for this matter.    As a result Plaintiff suffered extensive damages as the
Defendants’ and UGA Athletic Association, Inc. caused severe damages, including
but not limited to employment damage and thus monetary damages.                     Thus
Plaintiff believes unfortunately he has no other choice but to file this lawsuit.


                             JURISDICTION AND VENUE
        2. This action arises under the First and Fourteenth Amendments to the
Constitution of the United States and the Civil Rights Act, 42 U.S.C. 1983 and
1988.
        3. Jurisdiction for this suit is conferred in part by 42 U.S.C. 1983, which
provides, in part:
        Every person, who, under color of any statute, ordinance, regulation, custom
or usage, of any State or Territory, or the District of Columbia, subjects, or causes
to be subjected, any citizen of the United States or other person within the
jurisdiction thereof to the deprivation of any rights, privileges, or immunities
secured by the Constitution and laws, shall be liable to the party injured in any
action at law, suit in equity, or other proper proceedings for redress.
        4. Under 28 U.S.C. 1331 and 1343 (a)(3) and (4), the Court can entertain an
action to redress a deprivation of rights guaranteed by the United States
Constitution, and the Court has jurisdiction under 28 U.S.C. 1367 to hear an action
to redress a deprivation of rights guaranteed by the laws and the Constitution of the
State of Georgia.
        5. This Court has original jurisdiction over these federal claims pursuant to
28 U.S.C. 2201 and 2202 and Federal Rules of Civil Procedure 57.
        6. This Court has the authority to issue declaratory and injunctive relief
pursuant to 42 U.S.C. 1983 and Federal Rules of Civil Procedure 65.

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        7. This Court has the authority to award attorney fees’ and costs pursuant to
42 U.S.C. 1988.
        8. Venue is proper in this District pursuant to 28 U.S.C. 1391(b) as the
events giving rise to the instant claims occurred within this District and as at least
one Defendant resides in this District.
                                        PARTIES


        9. At the time of filing the Complaint, Plaintiff John Doe, is a resident of
Evans, Georgia and a student at UGA at all times relevant to this Complaint.
Plaintiff was a member of an athletic team from 2015 until he released from the
team by UGA in October 2018 as a result of the underlying facts of this matter,
including but not limited to engaging in constitutional protected speech, and thus at
all times relevant to this Complaint.
        10. Upon information and belief, Defendant Board of Regents of the
University of Regents of the University System of Georgia is a political
subdivision of the State of Georgia with the capacity to sue or be sued. The Board
operates and supervises approximately thirty-five, (35) university and college
institutions throughout the State of Georgia and is headquartered and has its
principal place of business in Atlanta, Georgia.
        11. Upon information and belief, Defendant University of Georgia is a
college level political subdivision of higher learning located in Athens, Georgia
and is a political subdivision of the State of Georgia with the capacity to sue or be
sued.
        12. Upon information and belief, Defendant Jere Wade Morehead is a
citizen of Georgia and resides in Clarke County, Georgia. Morehead is the
President of UGA.

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      13. Upon information and belief, University of Georgia Equal Opportunity
Office has a principal place of business located in Clarke County, Georgia.
      14. Upon information and belief, Eryn Janyce Dawkins, is the Director of
Equal Opportunity Office at UGA. Dawkins is a citizen of the state of Georgia and
resides in Gwinnett County.
      15.    University of Georgia Athletic Association, Inc. is a Georgia
corporation per O.C.G.A. 20-3-78 and upon information and belief has a principal
place of business in Clarke County, Georgia.
      16.   Upon information and belief, Edward McMillian Tate, is a citizen of
Georgia and resides in Fulton County, Georgia. Tate was the Vice Chancellor of
Legal Affairs, University of Georgia at the time of the events of this matter.
      17. Upon information and belief, C. Dean Alford, P.E., is a citizen of
Georgia. At the time of the events of this matter, C. Dean Alford, P.E., was a
Member of Board of Regents of the University of Georgia.
                 FACTUAL AND PROCEDURAL BACKGROUND
                                           And
         FACTUAL ALLEGATIONS COMMON TO ALL CLAIMS


      18. John Doe was permanently released from UGA Baseball Team in

October 2018 by UGAAA and UGA based on engaging in constitutional protected

speech while on campus at UGA. John Doe made a constitutionally protected

statement while on UGA campus in Athens, Georgia on or about September 29,

2018. UGA via its EOO office, imposed additional sanctions on or about October

9, 2018, revised from prior issuance of October 4, 2018. On October 4, 2018 John

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Doe was suspended for the remainder of Fall 2018 semester with eligibility to

enroll in the following semester, revised on October 9, 2018 to allow remotely

attending classes for the Fall Semester 2018 with professors’ permission, which

was not possible for all classes John Doe was enrolled; prohibited from

participating in any UGA Athletic units for the duration of his affiliation with

UGA; prohibited from attending all UGA home events as a spectator until January

2020; and prohibited for the remainder of fall 2018 semester from entering the

UGA campus without permission from EOO.

      19. John Doe was instructed on or about September 30, 2018 through

October 3, 2018 to meet on several occasions with an UGA Baseball Coach

Stricklin; and Darrice Griffin and Chris Latko of UGAAA. John Doe initially

meet with Coach Stricklin on September 30, 2018 who read and email to him and

EOO at UGA, from Africa Buggs. Ms. Buggs advised that John Doe said the N

word at a UGA football game and included several other facts. Coach Stricklin

asked if Ms. Buggs’ statement was true. John Doe admitted to saying the N word,

but advised the many of the alleged facts were out of proportion.   The next day

Coach Stricklin instructed John Doe to meet with Darrice Griffin, an Assistant

Director of the UGAAA. John Doe meet with Ms. Griffin the next day. John Doe

also meet with Christopher Lakos, Associate Sports Communications Director of

UGAAA on or about this time period. John Doe was asked questions by Darrice
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Griffin and Christopher Lakos regarding the subject incident and what John Doe

said, including John Doe’s protected speech.

   On or about October 3, 2018 John Doe was instructed by Coach Stricklin to

report to the UNIVERSITY OF GEORGIA ATHLETIC ASSOCIATION, INC..

John Doe met with Darrice Griffin and Coach Stricklin and was advised that he

was released from UGA Baseball team permanently for using the N word at the

subject event on September 29, 2018 on UGA campus. Christopher Lakos also

attended part of the meeting. John Doe learned members of UGA and UGAAA

had spoken and had learned the three students were going to picket about the

subject incident. UGA advised UGAAA that John Doe had to be released from the

baseball team, which is what UGAAA did.

      The operation of the intercollegiate athletic program at the University of

Georgia is a legitimate function of the University and is the responsibility of the

so-called “Institutional authority” at the University of Georgia. The President of

UGA is the instructional authority responsible for controlling the intercollegiate

athletic program. The Athletic Association is the management tool which the

President of UGA uses to carry out his responsibilities to control the University’s

intercollegiate Athletic Program.

      20. John Doe did not receive any notice that there would be hearings and/or

investigations to discuss his constitutional protected speech made while on campus
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at UGA with UGAAA, UGA, the EOO and/or UGA Coach Stricklin. John Doe

did not have time to prepare for such hearings. However during such meetings

John Doe was questioned regarding his constitutional protected speech made while

on campus at UGA.

        21. There have been other UGA students/agents/athletes who engaged in

similar activities/speech or more series acts such as crime. The Defendants did not

release such UGA students/agents/athletes from a UGA Athletic Team or suspend

them.    Nor did the Defendants enter sanctions as serious against other UGA

students/agents/athletes who engaged in similar activities/speech.          Thus the

Plaintiff’s Equal Protection Rights were also violated. Additional, specific facts are

listed below.

        22. UGA, UGAAA and UGA Coach Stricklin as reasonable college official

or agents of UGA should have known, release of Plaintiff from UGA Athletic

Team involved breach of Plaintiff’s First Amendment right to Freedom of Speech,

Due Process and Equal Protection Rights and violated Plaintiff’s clearly

established constitutional rights, rendering them and Defendants liable to Plaintiff

under 42 U.S.C. 1983.

        23. The EOO also conducted a hearing and investigation. Eryn Janyce

Dawkins, Director of EOO at UGA and a Georgia licensed attorney conducted the

hearings. Dawkins failed to provide John Doe with meaningful notice of the
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hearings. Dawkins was the sole fact finder and decision maker of this matter.

Dawkins lacked impartiality during the entire process and hearing. Dawkins also

violated other provisions which include, but are not limited to, the two (2) person

requirement, i.e. investigator and hearing officer/panel must be separate.

Investigator cannot be hearing officer or on panel deciding the case. This denied

Plaintiff Due Process as it had property and liberty interests at stake. This is also

breached the contract UGA and EOO had with Plaintiff. Dawkins entered her

initial findings on October 4, 2018, approximately five (5) days after the date John

Doe engaged in constitutional protected speech.         John Doe did not have a

reasonable amount of time to prepare for the EOO hearing or investigation. Based

on Dawkins lack of impartiality, she created a hostile environment, which

prevented John Doe from setting forth a defense.

      24. On October 4, 2018 Dawkins, as Director of EOO, entered written

sanctions against John Doe, which were revised on October 9, 2018. Specifically

such sanctions included, but are not limited to John Doe being suspended for the

remainder of a semester with eligibility to enroll in the following semester, revised

on October 9, 2018 to allow remote attendance of school with professors’

permission, which was not possible for all classes John Doe was enrolled;

prohibited from participating in any UGA Athletic units for the duration of his

affiliation with UGA; prohibited from attending all UGA home events as a
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spectator until January 2020; and prohibited for the remainder of fall 2018

semester from entering the UGA campus without permission from EOO. There

have been other students/agents of UGA that engaged in similar speech and

conduct as Plaintiff that the EOO denied to pursue and did not sanction. Thus the

Plaintiff’s Equal Protection Rights were violated as well.

      25. John Doe filed an appeal to the EOO decision to UGA President, Jere

Morehead. Such appeal cited law that clearly supported John Doe had engaged in

constitutional protected speech.     On November 9, 2018 Jere W. Morehead,

President, UGA and Georgia licensed attorney responded to John Doe’s appeal.

Despite law supporting John Doe’s speech was constitutional protected speech,

President Morehead upheld the decision of EOO and the Athletic Association’s

Decision to permanently release John Doe from an UGA Athletic Team due to

cascading agenda, including financial and other considerations.

      26. John Doe filed an appeal to the Board of Regents of the University

System of Georgia of President Morehead’s decision. The Board also violated

John Doe’s constitutional rights, including but not limited to Due Process and First

and Fourteen Amendments. The Board refused to allow the attorney for John Doe

to participate at the hearing for the Appeal, which took place in Atlanta, Georgia.

Tate and Alford failed to follow procedures regarding allowing John Doe’s

participation at the hearing. John Doe’s attorney was denied the right to make a
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statement at the hearing, ask any questions or participate in any manner. The

Board of Regents’ of University of Georgia upheld UGA’s former decision to

sanction John Doe for constitutional protected speech. Such sanctions included but

are not limited to the sanctions of the EOO and permanent release from an UGA

Athletic Team.

      27. Defendants have committed numerous violations of Federal and State

Law. Plaintiff’s future has been severely compromised and damaged. Without

appropriate redress, the sanctions imposed as a result of Defendants’ and

Defendants’ agents biased investigation and hearings will continue to cause

irreversible damage to Plaintiff’s career and future employment prospects, with no

end in sight. As a result there is a justiciable controversy between the parties with

respect to the outcome, permanency and future handling of Plaintiff’s formal

student record at UGA. By reason of the foregoing, Plaintiff seeks, pursuant to 28

U.S.C. 2201, a declaration of the parties’ rights.

      28. All Defendants including, but not limited to, UGA Coach Stricklin,

Darrice Griffin and UGAAA were agents of UGA at the time of the events of this

matter. As a result of the UGA, its agents and the all of the Defendants’ actions,

Plaintiff ‘s constitutional right to freedom of speech has been denied under the

First Amendment to the Constitution of the United States and 42 U.S.C. 1983.

Defendants including, but not limited to, UGA Coach Stricklin, Dairrice Griffin
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and UGAAA violated Plaintiffs clearly established constitutional rights, of which

any reasonable college official should have known, rendering him/her liable to

Plaintiff under 42 U.S.C. 1983.

         29. Defendants including, but not limited to, Dawkins, Morehead, UGA

Coach Stricklin, Darrice Griffin and UGAAA and its agents’ actions constitute

breach of contract for failing to follow the practices and procedures set forth in the

UGA student handbook and student athletic handbook which establish a binding

agreement between the Defendants and each UGA student. Specific, additional

facts are listed below.

         30. As a direct and proximate result of Defendant(s) actions, Plaintiff

suffered emotional distress, humiliation and embarrassment over the loss of his

constitutional rights and the threat of retaliatory action.

         31. Plaintiff has also suffered actual compensable injury, including loss of

multiple employment opportunities, including but not limited to not being

drafted/employed as a professional athletic player/member in a major professional

sports league, despite having the proven ability and record.          The amount of

Plaintiff’s employment opportunities will be shown later either in discovery or

trial.

                                   CAUSES OF ACTION
                                FIRST CAUSE OF ACTION

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                               Freedom of Speech Under
              The First and Fourteenth Amendments (42 U.S.C. 1983)
                                 (ALL DEFENDANTS)


      32. Plaintiffs repeat and reallege each of the foregoing paragraphs in this

Complaint.

      33. The First and Fourteenth Amendments extend to the campus of public

colleges and universities such as UGA. See Widmar v. Vincent, 454 US 263, at

268 (1981) (noting that “[w]ith respect to persons entitled to be there, our cases

leave no doubt that the First Amendment right of speech and association extend to

the campuses of state universities”); see also Healy v. James, 408 U.S. 169, at 180

(1972).

      34. It is settled law that a public university may not discipline a student for

engaging in protected expression. The Supreme Court held such over four decades

ago in Papish v. Board of Curators of the University of Missouri, 410 U.S. 667

(1973). While recognizing a state university’s undoubted prerogative to enforce

reasonable rules governing student conduct, as noted above it was noted that state

colleges and universities are not enclaves immune from the sweep of the First

Amendment. See Healy v. James, 408 U.S. 169 (1972). Healy make it clear that

the mere dissemination of ideas-no matter how offensive to good taste-on a state

university campus may not shut off in the name alone of “conventions of decency.”
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      35. The First Amendment protects even speech that some may, or even all,

find hateful. The Supreme Court reiterated this fundamental principle in Synder v.

Phelps, 562 U.S. 443 (2011), noting: “Speech is powerful. It can stir people to

action, move them to tears of both joy and sorrow, and inflict great pain. …. We

cannot react to that pain by punishing the speaker. As a nation we have chosen a

different course-to protect even hurtful speech on public issues to ensure that we

do not stifle public debate. The Court again reaffirmed this principle in Matal v.

Tam, 137 U.S. (2017), holding unanimously that the perception that expression is

“hateful” or that it demeans on the basis of race, ethnicity, gender, religion, age,

disability, or any other similar ground” is not a sufficient basis on which to remove

speech from the protection of the First Amendment.

      36. If hateful speech also falls under a category of unprotected speed, such

as threats or incitement to imminent lawless action, it will lose its constitutional

protection. But John Doe’s publicized expression did not constitute either of those

things. There were no threats or incitement to imminent lawless action. UGA has a

video of the incident.

      37.   Nor does John Does’ expression, as some will argue, constitute

discriminatory harassment. At the time of this event, John Doe was a student at

UGA. Unlike a faculty member or administrator, students do not usually have the

kind of power over other students that make harassment (rather than just hostility
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or unpleasantness) possible. In order for student behavior to constitute actionable

“hostile environment” harassment under the applicable legal standard provided by

the Supreme Court in Davis v. Monroe County of Board of Education, 526 U.S.

629

(1999), it must be unwelcome, discriminatory on the basis of gender or another

protected status, and so severe, pervasive, and objectively offensive that it can be

said to deprive the victim of access to the educational opportunities or benefits

provided by the school.” By definition, this would prevent a reasonable person

from receiving his or her education. In a July 28, 2003, “Dear Colleague” letter

sent to all college and university presidents, the Office for Civil Rights of the U.S.

Department of Education, which is tasked with enforcing anti-discrimination law,

made clear that harassment “must include something beyond the mere expression

of views, words, symbols or thoughts that some person finds offensive.”

      38. Plaintiff’s public statement regarding race and stating the N word made

on UGA campus in Athens, Georgia, on September 29, 2018, was constitutional

protected speech protected by the First Amendment of the Constitution. Plaintiff ‘s

intent and context were in a positive manner and support of a person. Plaintiff was

rooting for Justin Fields, a quarterback to be played in the football game. When

Plaintiff learned his statement was viewed negatively, he stopped and apologized.

Defendants and its agents actions were taken in retaliation for Plaintiff’s exercise
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of its First Amendment freedoms. Defendant stated reasons for sanctions against

Plaintiff by Defendants and its agents were pretextual and had no rational basis,

being wholly contradicted by the view of the video and Plaintiff posed no threat to

others at any time.

      39. As the law is clearly established in this area, and as Defendants and its

agents had (and have) fair warning that suspending and sanctioning a student

from/by a public university in retaliation for the exercise of First Amendment

freedoms is unconstitutional, Defendants are liable in their official capacities, for

violating Plaintiff’s First Amendment rights.

      40. However John Doe was permanently released from the UGA Baseball

Team on or about October 3, 2018 by UGAAAA, (i.e. UGA Athletic Association,

Inc.), UGA and Morehead, President of UGAAA for engaging in constitutional

protected speech in saying the N word. UGA Coach Stricklin on behalf of UGA

Athletic Association, Inc., instructed John Doe to meet with him on several

occasions in or about September 30, 2018 and October 2018. John Doe did not

receive any notice that Coach Stricklin would investigate and conduct a hearing on

behalf of the UGA Athletic Association, Inc. and UGA regarding the constitutional

protected speech John Doe engaged. UGA Coach Stricklin instructed John Doe to

meet with Darrice Griffin, Assistant Director of UGAAA and Plaintiff met with

her on several occasions at the UGAAA office. Plaintiff was not given notice that
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Darrice Griffin was conducting an investigation. However during meetings Coach

Stricklin and UGAAA Assistant Director, Darrice Griffin, completed an

investigation/hearing regarding John Doe’s constitutional protected speech.

Despite no notice, on or about October 3, 2018 UGA Coach Stricklin as agent of

UGA and UGAAA and Darrice Griffin, Assistant Director of UGAAA, pursuant to

instructions and knowledge of UGA Athletic Association, Inc., and Morehead,

who is President of UGAAA, permanently released John Doe from the UGA

Baseball Team. The meeting wherein John Doe was released from the UGA

Baseball team occurred at the UGAAA office and the parents of John Doe, Rachel

and Jon Sasser were present.

      UGA via its EOO imposed additional sanctions, also for Plaintiff engaging

in constitutional protected speech, on or about October 9, 2018, revised from prior

issuance of October 4, 2018. On October 4, 2018 John Doe was suspended for the

remainder of the Fall 2018 semester with eligibility to enroll in the following

semester, revised on October 9, 2018 to allow remote attendance of school with

professors’ permission, which was not possible for all classes John Doe was

enrolled; prohibited from participating in any UGA Athletic units for the duration

of his affiliation with UGA; prohibited from attending all UGA home events as a

spectator until January 2020; and prohibited for the remainder of fall 2018

semester from entering the UGA campus without permission from EOO.
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      41. John Doe filed an appeal to the EOO decision. Such appeal cited law

that clearly supported John Doe had engaged in constitutional protected speech.

On November 9, 2018 Jere W. Morehead, President, UGA responded to John

Doe’s appeal.    Despite law supporting John Doe’s speech was constitutional

protected speech, President Morehead, a Georgia licensed attorney upheld the

decision of EOO and UGA Athletic Association’s Decision to permanently release

John Doe from an UGA Athletic Team due to cascading agenda, including

financial and other considerations despite being able to understand the law which

finds Plaintiff’s speech involved constitutionally protected speech.

      42. Plaintiff filed an appeal to the Board of Regents of the University

System of Georgia of President Morehead’s decision. The Board also violated

John Doe’s constitutional rights, including but not limited to Due Process and First

and Fourteenth Amendments. The Board refused to allow the attorney for John

Doe to participate at the hearing for the Appeal. Tate and Alford failed to follow

procedures regarding allowing John Doe’s participation at the hearing. John Doe’s

attorney was denied the right to make a statement at the hearing, ask any questions

or participate in any manner. The Board of Regents of University of Georgia

upheld UGA’s former decision to sanction John Doe for constitutional protected

speech. Such sanctions included but are not limited to the sanctions of the EOO

and permanent release from an UGA Athletic Team.
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      43. As a result of the sanctions, processing of same and as applied against

Plaintiff for engaging in its constitutional right to freedom of speech, the

Defendants and its agents are responsible for the deprivation of Plaintiff’s clearly

established constitutional rights under the First Amendment to the Constitution of

the United States, as applied to the states by the Fourteenth Amendment and

violation of 42 U.S.C. 1983. Defendants violated Plaintiffs clearly established

constitutional rights, of which any reasonable college official should have known,

rendering him/her liable to Plaintiff under 42 U.S.C. 1983.

      44.   As a direct and proximate result of Defendant(s) actions, Plaintiff

suffered humiliation and embarrassment over the loss of his constitutional rights

and the threat of retaliatory action.

      45. Plaintiff has suffered actual compensable injury, including not being

drafted as a professional athletic player in a major professional sports league, in an

amount to be shown later either in discovery or trial.

      46.    Plaintiff has suffered significant emotional distress as a result of

Defendants and Defendants agent’s unconstitutional actions.

      47. In the alternative to actual compensatory damages, Plaintiff is entitled to

an award of nominal damages for the violation of his constitutional rights.




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      48. Plaintiff is also entitled to an award of punitive damages because these

Defendants conduct involves recklessness or callous indifference to the federally

protected rights of others, including Plaintiff.

      49. The denial of constitutional rights is an irreparable injury per se, Elroy

v. Burns, 427 U.S. 347, 373 (1976), and Plaintiffs are entitled to declaratory and

injunctive relief, damages in an amount to be determined at trial, plus prejudgment

interest, expenses, and the reasonable costs and disbursements of this lawsuit,

including reasonable attorney fees.

                             SECOND CAUSE OF ACTION
                PROCEDUAL AND SUBSTANTIVE DUE PROCESS
                        Fourteenth Amendment (42 U.S.C. 1983)
                                  (ALL DEFENDANTS)
      50. Plaintiffs repeat and reallege each of the foregoing paragraphs in this

Complaint.

      51. Article I, Section 1, Paragraph 1 of Georgia Constitution; and the Due

Process Clause of the Fourteenth Amendment, guarantee that no person shall be

deprived of life, liberty or property without due process of law.

      52. Students at public universities enjoy protected property interests in their

education such that due process must be afforded them prior to the denial of those

interests. At a minimum, this includes notice and opportunity to be heard.       See

Goss v. Lopez, 419 U.S. 565, 574 (1975); Bd. of Curators v. Horowitz, 435 U.S.
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78, 86 (1978). Defendants and its agents have not provided Plaintiff with these

essentials rights.

       53. Eryn Janyce Dawkins, Director of EOO of UGA and a Georgia licensed

attorney, conducted the investigation of the incident wherein Plaintiff engaged in

constitutionally protected speech involving race.       Dawkins issued two (2)

documents regarding her investigation, hearing and findings, dated October 4,

2018 and October 9, 2018.

       54. Dawkins conducted the investigation and hearings as the sole fact finder

and decision maker. Dawkins solely chose which witnesses and interviewed them

by herself without other EOO staff, determined the findings of the investigation,

imposed the sanctions and wrote the investigation findings regarding John Doe’s

constitutionally protected speech.

       The Board’s and UGA policies and provisions in the UGA student handbook

and student athletic handbook Defendants’ obligation to follow the procedures they

have established for student discipline and Freedom of Expression. Defendants,

Dawkins, UGA, UGAAA and Morehead breached the student handbook’s

provision by sanctioning John Doe for speech that is permitted by the Freedom of

Expression.

       The Equal Opportunity Office is part of the University of Georgia’s Code of

Conduct, which is part of the UGA student handbook. Defendants failed to follow
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these binding procedures as well as others. Specifically there is to be a 2 part

process for the Investigation and Resolution/Hearing, an Investigator and

Misconduct Panel or Hearing Officer.              Once the Investigator finalizes the

investigation report, the Investigator is required to provide such report to the

Misconduct Panel or Hearing Officer. Further the investigator may testify as a

witness regarding the investigation and findings, BUT SHALL OTHERWISE

HAVE NO PART IN THE HEARING PROCESS and shall not attempt to otherwise

influence the proceedings outside of providing testimony during the hearing. The

actual language is…..

            1.    The final investigation report should be provided to the

      misconduct panel or hearing officer for consideration in adjudicating the

      charges brought against the Respondent. A copy shall also be provided to the

      respondent and Complainant (where applicable) before any hearing. The

      investigator may testify as a witness regarding the investigation and

      findings, but shall otherwise have no part in the hearing process and shall

      not attempt to otherwise influence the proceedings outside of providing

      testimony                 during                     the               hearing.

      Dawkins was the Investigator and Misconduct Panel or Hearing Officer in

      the subject case.   This precluded the two (2) part and separate fact finder

      and decision maker provision required. This issue was addressed to UGA
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      President Morehead and attempt to the Board but they refused to follow their

      own rules. This violation added to Dawkins issue of lack of impartiality.

      55. Dawkins failed to be an impartial fact finder and decision maker during

her involvement with the subject matter. Dawkins spoke with Plaintiff and its

parents, Rachel and Jon Sasser. Dawkins advised that “I am personally offended”

by the words contained in John Doe’s constitutionally protected speech. Ms.

Dawkins’ statement reveals she was not an impartial fact finder and had a chilling

affect on Plaintiffs’ ability to present a case or defense. Dawkins made it clear she

was not interested or open to hear any information or defense of Plaintiff and that

Plaintiff’s participation in the investigation was not welcomed. There were

credibility issues in some of the statement(s) of the witness(es). Such statements

are written. Despite same, Ms. Dawkins made it verbally clear, Plaintiffs were not

welcomed to discuss/confront or cross exam such witness(es) and if Plaintiff did, it

would not work well for him. This had a chilling effect on Plaintiff’s opportunity

to be heard and participate in the investigation.       Dawkins created a hostile

environment for John Doe.

      56. Thereafter Ms. Dawkins issued written sanctions which breached John

Doe’s constitutional rights for engaging in freedom of speech. Such sanctions

were clearly excessive as Dawkins reversed herself, exceeded sanctions given for

allegedly similar situated individuals and violated Plaintiff’s Equal Protection
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rights as discussed below. The October 4, 2018 findings and sanctions suspended

John Doe for the remainder of the Fall 2018 semester despite, no notice of hearing

being issued to John Doe, a due process violation according to Goss v. Lopez, 419

U.S. 565 (1975).    Dawkins issued written revised findings and sanctions on

October 9, 2018, which permitted John Doe to participate in his classes remotely

for the Fall Semester of 2018, if possible. If not possible, John Doe was to

withdraw from his classes. John Doe was not able to remotely attend all of his

classes per his professors and had to withdraw from such class(es) for the Fall

Semester of 2018. Dawkins’ sanctions also prohibited John Doe from participating

in any UGA Athletic units for the duration of his affiliation with UGA; prohibited

from attending all UGA home events as a spectator until January 2020; and

prohibited for the remainder of fall 2018 semester from entering the UGA campus

without permission from EOO.

      57. UGA Coach Stricklin on behalf of UGA Athletic Association and thus

UGA, instructed John Doe to meet with him on several occasions in or about

September 30, 2018 and October 2018. John Doe did not receive any notice that

such Coach would investigate and conduct a hearing on behalf of the UGA

Athletic Association and UGA regarding the constitutional protected speech John

Doe engaged. However during all of these meetings Coach Stricklin and UGAAA

Assistant Director, Darrice Griffin, completed an investigation/hearing regarding
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John Doe’s constitutional protected speech. Despite no notice, the UGA Coach

Stricklin as agent of UGA and UGAAA and Darrice Griffin, of UGAAA pursuant

to instructions and knowledge of UGA Athletic Association, Inc. and UGAAA

President, Morehead, permanently released John Doe from the UGA Baseball

Team at a meeting at UGAAA wherein the parents of John Doe, Rachel and Jon

Sasser were present.

      58. Based on the foregoing Dawkins, UGA Coach Stricklin, Darrice Griffin,

Assistant Director at UGAAA as agent of UGA and UGA Athletic Association,

Inc. and Morehead violated the rights and guarantees set forth in the Fourteenth

Amendment of the United States Constitution during the investigation and

adjudication of John Doe’s constitutional protected speech.      John Does’ Due

Process rights, were violated. Students facing temporary suspension from a public

school have property and liberty interest that qualify for protection under the Due

Process Clause. See Goss v. Lopez, 419 U.S. 565 (1975). Goss recognizes

education as a property interest which is protected by Due Process. Education may

not be taken away without adherence to minimum procedures required by that

Clause. Suspension could seriously damage a student’s standing with their fellow

pupils and their teachers as well as well as interfere with later educational and

employment opportunities.     See Goss, ID. Due Process also forbids arbitrary

deprivations of liberty. Where a person’s good name, reputation, honor or integrity
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is at stake because what the government is doing to him, Due Process must be had.

If these interests are at stake, a violation could seriously damage a student’s

standing with their fellow pupils and their teachers as well as well as interfere with

later educational and employment opportunities. See Goss, ID.

      59. John Doe had a property in his education and liberty interest in his good

name, reputation, honor or integrity requiring Due Process. However Ms. Dawkins

violated John Doe’s due process rights, by failing to be an impartial fact finder and

decision maker; failing to provide notice of the hearings; creating a hostile

environment during the investigation and hearing; and failing to provide

appropriate weight to witnesses with credibility issue. As a result Plaintiff

sustained damages with employment opportunities. Specifically Plaintiff was not

drafted/employed as a member of a professional major sports athletic team and lost

significant income in an amount to be shown later in discovery or trial.

      60. John Doe never received notice of the investigation/hearing for his

constitutional protected speech of his Coach prior to their September 30, 2018 and

October 2018 meetings wherein John Doe was permanently released from the

team. John Doe’s liberty interest in good name, reputation, honor and integrity was

damaged as the release affected and interfered with his later employment

opportunities, including but not limited to being drafted/employed as a


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player/member of major professional sports league, resulting in loss of income in

an amount to be shown later in discovery or trial.

      61. In light of the Board’s and UGA and its agents’ retaliatory actions and

the injuries to Plaintiff arising therefrom, the State of Georgia’s procedures will not

provide Plaintiff with adequate pre- or post-deprivation remedy to cure the

erroneous deprivation of his property and liberty interests.

      62. As the law is clearly established in this area, and as Defendants had (and

have) fair warning that denying Plaintiff’s right to a public education, as well as a

fair and open hearing prior to suspending him from UGA and releasing him from

an UGA Athletic Team was unconstitutional, Defendants and its agents are liable

for violating Plaintiff’s rights protected by Fourteenth Amendment.

      63.    Plaintiff’s constitutional right to Due Process of the Fourteenth

Amendment of the United States Constitution has been violated. Dawkins, UGA

Athletic Coach, UGA Athletic Association and any other Defendant involved in

breach of Plaintiff’s Due Process constitutional right, violated Plaintiff’s clearly

established constitutional rights, of which any reasonable college official or agent

should have known, rendering them liable to Plaintiff under 42 U.S.C. 1983.

      64. Plaintiff has suffered actual compensable injury, including not being

drafted as a professional athletic player in a major professional sports league, in an

amount to be shown later either in discovery or trial. Plaintiff has also suffered
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damage to his good name, reputation, honor, integrity, emotional distress and other

economic injuries due to the many in which Defendants and its agents breached

Plaintiff’s constitutional rights.

       65. In the alternative to actual compensatory damages, Plaintiff is entitled to

an award of nominal damages for the violation of his constitutional rights.

       66. Plaintiff is also entitled to an award of punitive damages because these

Defendants conduct involves recklessness or callous indifference to the federally

protected rights of others, including Plaintiff.

       67. The denial of constitutional rights is an irreparable injury per se, Elroy

v. Burns, 427 U.S. 347, 373 (1976), and Plaintiffs are entitled to declaratory and

injunctive relief, damages in an amount to be determined at trial, plus prejudgment

interest, expenses, and the reasonable costs and disbursements of this lawsuit,

including reasonable attorney fees.

                               THIRD CAUSE OF ACTION
                        42 U.S.C. 1983 INDIVIDUAL LIABILITY
                         FREE SPEECH CLAUSE VIOLATION
               (INDIVIDUAL DEFENDANTS IN PERSONAL CAPACITY)
       68.     Plaintiff re-alleges and incorporates by reference all previous

allegations.

       69. Plaintiff public statements on campus were speech acts protected from

infringement by the First Amendment of the U.S. Constitution.
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      70. Defendants and its agents’ actions in conspiring to suspend, release

Plaintiff from an UGA Athletic Team and other sanctions were taken in retaliation

for Plaintiff’s exercise of his First Amendment freedoms.

      71. Defendants and its agents’ stated reasons for suspending and releasing

Plaintiff from an UGA Athletic Team and other imposed sanctions were pretextual

and had no rational basis. Plaintiff posed no threat to self or others at any time.

      72. As the law is clearly established in this area, and because Defendants

had (and have) fair warning that suspending a student from a public university in

retaliation for the exercise of First Amendment freedoms is unconstitutional, the

Individual Defendants are personally liable in their individual capacities for

violating Plaintiff’s First Amendment rights.

      73. The denial of constitutional rights is irreparable injury per se, and

Plaintiff is entitled to declaratory and injunctive relief and to compensatory

damages to be determined by an impartial jury. In addition, Plaintiff is entitled to

punitive damages for Defendant’s willful and malicious violation of its First

Amendment rights.

                            FOURTH CAUSE OF ACTION
       42 U.S.C. 1983 PROCEDURAL AND SUBSTANTIVE DUE PROCESS
               (INDIVIDUAL DEFENDANTS IN PERSONAL CAPACITY)
      74.      Plaintiff re-alleges and incorporates by reference all previous

allegations.
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       75. Article I, Section 1, Paragraph 1 of the Georgia Constitution; and the

Due Process Clause of the Fourteenth Amendment guarantee that no person shall

be deprived of life, liberty or property without due process of law.

       76. Students at public universities enjoy a protected property interest in their

education such that due process must be afforded them prior to the denial of those

interests. At a minimum, this includes notice and an opportunity to be heard. See

Goss v. Lopez, 419 U.S. 565, 574 (1975); Bd. of Curators v. Horowitz, 435 U.S.

78, 86 (1978).

       77. At no time have Defendants or its agents provided Plaintiff with these

essential rights.

       78. As the law is clearly established in this area, and because Defendants

had (and have) fair warning that denying Plaintiff the right to a public education, as

well as a fair and open hearing suspension from UGA was unconstitutional,

Defendants are individually liable for violating Plaintiff’s rights protected by the

Fourteenth Amendment.

       79. The denial of constitutional rights is irreparable injury per se, and

Plaintiff is entitled to declaratory and injunctive relief and to compensatory

damages to be determined by an impartial jury. In addition, Plaintiff is entitled to

punitive damages for Defendant’s willful and malicious violation of its First

Amendment rights.
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                             FIFTH CAUSE OF ACTION
                                    Equal Protection
 Deprivation of Equal Protection U.S. Const. Amend. XIV (42 U.S.C. § 1983)

       80.   Plaintiff re-alleges and incorporates by reference all previous
allegations.

      81. Plaintiff states this cause of action against Defendants in their official

capacities. Plaintiff challenges UGA Non-Discrimination and Anti-Harassment

Policy, (hereinafter “NDAH Policy”) as applied to him and Defendants decisions

and actions.

      82.      The Fourteenth Amendment to the United States Constitution,

enforceable under 42 U.S.C. § 1983, provides that no state shall “deny to any

person within its jurisdiction the equal protection of the laws.” U.S. Const. amend.

XIV, § 1.

      83. As applied to John Doe, Defendants decisions and actions were use with

a purpose to discriminate against Plaintiff. In addition as applied, the UGA NDAH

Policy was used with a purpose and intent to discriminate against him.

      84. UGA agents, including Dawkins, Morehead, Tate and the Board utilized

UGA NDAH Policy to punish him for constitutional protected speech regarding

race. (Plaintiff ‘s intent and context were in a positive manner and support of a

person. When Plaintiff learned his statement was viewed negatively, he stopped

and apologized). While such speech is clearly permitted, the Defendants and UGA
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Coach as agent for UGA imposed sanctions against John Doe. However when

UGA was faced with other students and/or college members engaging in engaging

in speech regarding race, UGA did not impose such or similar sanctions nor

remove them from their affiliation with UGA. Thus, UGA treats similarly situated

people differently.

       Specifically, Jonathan Ledbetter, UGA Athlete had two (2) alcohol related
arrests. The second arrest lead to a sanction of a 6-game suspension and being
temporarily excused from the team so he could seek treatment. John Doe was
never arrested. Athlete Ledbetter was not permanently released from an athletic
team as John Does was. Nor was Ledbetter suspended from school as John Doe
was.
       Natrez Patrick, UGA Athlete’s behavior violated UGA’s marijuana-use
policy twice with previous marijuana arrest. His sanction was four (4) game
suspension. John Doe was not arrested. Athlete Patrick was not permanently
released from a UGA Athletic Team as John Doe was. Nor was Patrick suspended
from school as John Doe was.
       Elijah Holyfield, UGA Athlete, was charged with misdemeanor, for
marijuana possession. His sanction for misbehavior was a single game suspension.
Athlete Holyfield was not permanently released from an UGA Athletic Team as
John Doe was. Nor Holyfield suspended from school as John Doe was.
       Riley Ridley, UGA Athlete was disciplined for misbehavior of marijuana
possession, a misdemeanor. Ridley’s sanction was a single game suspension.
Ridley was not permanently released from an UGA Athletic Team as John Doe
was. Nor was Ridley suspended from school as John Doe was.

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      Jayson Stanley, UGA Athlete was disciplined for misbehavior of marijuana
possession. His sanction was a one-game suspension. Athlete Stanley was not
permanently released from an UGA Athletic Team as John Doe was. Nor was
Stanley suspended from school as John Doe was.
      Osei-Frimpong, (hereinafter “Frimpong”) a student teacher, since 2016
made statements about race relations and were posted online. Those statements
included but are not limited to “some white people may have to die for black
communities to be made whole in this struggle to advance freedom”. UGA never
disciplined or issued any sanctions to Frimpong for such speech. (Frimpong’s was
accused for filling out his graduate school application because he did not mention
his prior studies at University of Chicago….. and was reviewed by The Office of
Student Conduct who did not find any violation of the school code of conduct).
See www.ajc.com/news/local-education/uga-grad-student, by Eric Stirgus, The
Atlanta Journal-Constitution, May 8, 2019. The EOO at UGA did not conduct an
investigation and thus did not issue sanctions to Frimpong’s regarding his
statement about race.
      Andrew Logan Lawrence, went to the EOO Office, as a UGA student, on
three (3) separate occasions, with three (3) separate speech statements of Frimpong
regarding the white race and asked to file a Complaint and for the EOO to open an
investigation. All of his requests were denied by the EOO. The specific facts, as
noted in his Affidavit attached hereto as Exhibit A are as follows:


      1. Throughout the Fall 2018 semester, I met with the University of Georgia
         Equal Opportunity Office (hereinafter ‘EOO’) on three (3) separate
         occasions in order to provide their office with information related to an


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   altercation that took place in the Miller Learning Center between myself
   and UGA Philosophy student teacher, Irami Osei-Frimpong.
2. Mr. Osei-Frimpong was invited to speak at a general body meeting of the

   UGA Young Democrats on September 12, 2018, and I attended as
   student journalist, who wished to ask Mr. Osei-Frimpong about a number
   of statements he had made about white students on various social
   networking sites, including, but not limited to, comparing white students
   to children living with autism, calling them white supremacists, and
   Chick-fil-A workers.
3. During the exchange, which was videoed, during the question and answer
   portion of the meeting, Mr. Osei-Frimpong stated that white people were
   “sociopaths,” and told me to “shut my yap” when I attempted to ask for
   clarification on his statements. He then went on to indicate that “it was a
   strategy to pretend that all white people were individuals.” The degree to
   which I was humiliated by Mr. Osei-Frimpong and the nearly fifty (50)
   student attendees for simply being white is immeasurable.
4. On September 14, 2018, Mr. Osei-Frimpong took to the UGA Young
   Democrats Facebook page, where he publicly stated that my urge to ask
   questions was a “tick,” that I was “culturally deficient,” and that I should
   apologize because I was “sucking up so much air in the room.” He
   continued to teach courses throughout this time.
5. On September 19, 2018, Kieran Morrow, Associate Director of the EOO,

   who had caught wind of the altercation, contacted me via phone to
   schedule a time to meet and discuss the events that had transpired.
   Following the call, I provided her with a video of the altercation, via e-
   mail. I met with Miss Morrow on Wednesday, September 26, 2018.

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   During this meeting, I provided her with a detailed account of the events
   that transpired. I was unable, at this time, to share the video of Mr. Osei-
   Frimpong’s lecture, due to the file size, and was told that I could not file
   a formal complaint until she viewed the video of Mr. Osei-Frimpong’s
   lecture.
6. After unsuccessful attempts to provide the EOO with video of Mr. Osei-

   Frimpong’s lecture through e-mail or flash drive, I again met with Miss
   Morrow in October 2018, the specific date of which, I am uncertain, as
   the meeting was scheduled over the phone. During this meeting, Miss
   Morrow watched the video of Mr. Osei-Frimpong’s lecture, on my
   phone, and transcribed 2-3 pages of Mr. Osei-Frimpong’s comments. I
   also pointed Miss Morrow in the direction of Mr. Osei-Frimpong’s
   RateMyProfessor.com page, which displays two student reviews from
   earlier in 2018, where students indicated that Mr. Osei-Frimpong had
   discriminated against them for being white. One student wrote that Mr.
   Osei-Frimpong told her that, since she was a member of a sorority, she
   was “bound to end up hooked on Xanax and living in Peachtree City.”
   Miss Morrow claimed that she could not accept these reviews and
   informed me that based upon what she had seen in the video of Mr. Osei-
   Frimpong’s lecture, and the video of our altercation, I would not be
   allowed to file a formal complaint.
7. Following a November 21, 2018 article that I penned for my previous

   employer, Campus Reform.org, which highlighted Mr. Osei-Frimpong’s
   suspension from Facebook for his comments, I again met with Miss
   Morrow, presenting her with a number of written statements published by
   Mr. Osei-Frimpong, which continually criticized white students. Again,

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         the EOO denied my request to file a complaint against Mr. Osei-
         Frimpong, and I was told that the EOO would investigate his student
         course reviews at the end of the semester. This was the last time that I
         heard from the EOO. This 18th day of February 2021.
      85. Defendants, including but not limited to Dawkins, Morehead, Tate an

UGA Coach acting as agent for UGA and UGA Athletic Association, Inc. utilized

releasing Plaintiff from an UGA Athletic Team to punish Plaintiff for

constitutional protected speech as a guise for alleged misconduct.           While

constitutional protected speech is clearly not misconduct or illegal, UGA,

Defendants, an UGA Coach, acting as agent for Defendants and UGA Athletic

Association imposed sanctions against John Doe, a former UGA athlete for same.

However when UGA and Defendants was faced with other UGA athletes engaging

in misconduct, including misconduct that was illegal, UGA did not impose such or

similar sanctions nor remove them from an UGA Athletic Team. Thus, UGA and

Defendants treats similarly situated people differently.

      86. By purposefully imposing sanctions on John Doe, including but not

limited to suspension, removing him from an athletic team, prohibiting association

with certain UGA divisions, as other sanctions as indicated above, UGA,

Defendants, including but not limited to Dawkins, Morehead, Tate and UGA

Coach acting as agent for UGA and                 UGA Athletic Association, Inc. is


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discriminating and depriving John Doe of the equal protection of the laws within

the meaning of the Fourteenth Amendment to the United States Constitution.

         87.   As applied to Plaintiff, the harm caused by application is loss

pronounced on education and future employment and thus is particularly

pronounced and the amount of damages will be shown later, either in discovery or

trial.

         88. Plaintiff’s has lost the opportunity to play as a member of a professional

sport team in major league which causes him severe and ongoing humiliation,

emotional distress, pain, suffering and stigma.

         89. Plaintiff has also suffered actual compensable injury, including loss of

multiple employment opportunities, including but not limited to not being

drafted/employed as a professional athletic player/member in a major professional

sports league, despite having the proven ability and record. Such amount to be

shown later either in discovery or trial.

As a result, Plaintiff has also lost significant income and finances in an amount that

will be shown later either in discovery or trial.

         90. All Defendants and UGA agents involved in breach and deprivation of

Plaintiff’s Equal Protection Rights, violated Plaintiff’s clearly established

constitutional rights, of which any reasonable college official or agent should have

known, rendering them liable to Plaintiff under 42 U.S.C. 1983.
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      91. Breaching one’s constitutional rights is not narrowly tailored to advance

a compelling government interest, nor is it rationally related to any legitimate

government interest. UGA NDAH Policy as applied in this case, violates the Equal

Protection Clause of the Fourteenth Amendment to the United States Constitution.

      92. The denial of constitutional rights is an irreparable injury per se, Elroy

v. Burns, 427 U.S. 347, 373 (1976), and Plaintiffs are entitled to declaratory and

injunctive relief, damages in an amount to be determined at trial, plus prejudgment

interest, expenses, and the reasonable costs and disbursements of this lawsuit,

including reasonable attorney fees.

                          SIXTH CAUSE OF ACTION

                           BREACH OF CONTRACT

      93. Plaintiffs repeat and reallege each of the foregoing paragraphs in this

Complaint.

      94. The Board’s and UGA policies and provisions in the UGA student

handbook and student athletic handbook establish a binding agreement between the

Defendants and each UGA student.

      95. Incorporated into this agreement is Defendant’s obligation to follow the

procedures they have established for student discipline and Freedom of Expression.

Defendants, Dawkins, UGA, UGAAA and Morehead breached the UGA policies

and student handbook’s provision by sanctioning John Doe for speech that is
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permitted by the Freedom of Expression. The Equal Opportunity Office is part of

the University of Georgia’s Code of Conduct.

      96. Defendants failed to follow these binding procedures, which include but

are not limited to the following. Specifically there is to be a 2 part process for the

Investigation and Resolution/Hearing, an Investigator and Misconduct Panel or

Hearing Officer.    Once the Investigator finalizes the investigation report, the

Investigator is required to provide such report to the Misconduct Panel or Hearing

Officer. Further the investigator may testify as a witness regarding the

investigation and findings, BUT SHALL OTHERWISE HAVE NO PART IN THE

HEARING PROCESS and shall not attempt to otherwise influence the proceedings

outside of providing testimony during the hearing. The actual language is

             2.    The final investigation report should be provided to the

      misconduct panel or hearing officer for consideration in adjudicating the

      charges brought against the Respondent. A copy shall also be provided to the

      respondent and Complainant (where applicable) before any hearing. The

      investigator may testify as a witness regarding the investigation and

      findings, but shall otherwise have no part in the hearing process and shall

      not attempt to otherwise influence the proceedings outside of providing

      testimony during the hearing.


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              3.   Dawkins was the Investigator and Misconduct Panel or Hearing

      Officer in the subject case. This precluded the two (2) part and separate fact

      finder provision required. This issue was addressed in the appeal to UGA

      President Morehead and the BOR but they refused to follow their own rules

      and thus breached the contract with John Doe. This violation added to

      Dawkins issue of lack of impartiality as she had already stated to John Doe

      and his parents “I am personally offended by the statement” (i.e. of John

      Doe).

      UGAAA and UGA also breached the UGA and UGAAAA student athletic

handbook which states the following.

Above all, we recognize the University’s obligation to the state of Georgia, and to

the parents everywhere who send us their sons and daughters, to provide our

students with a level of quality education which leads to recognized academic

achievement, contributing to their social development and preparing them for

meaningful lives and careers….Releasing someone from an athletic team for a

brief incident does not contribute to their social development. Other colleges have

experienced such behavior and were able to effectively handle the situation. They

simple responded by stating that they do not agree with the speech, its not

unlawful.

Integrity
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By their very nature, athletics involve character development; for this reason,

especially, we must conduct ourselves with utmost integrity. All of our programs,

and the activities on our behalf by alumni and friends, must be consistent with the

policies of the University and the athletic bodies which govern us. We are to be at

all times honest and forthright in our dealings with each other, the public and

media. UGAAA did not work with John Doe’s character development in this

matter. Nor was UGAAA consistent with its policy of the University regarding

student/agent/athlete speech regarding race.

PERSONAL DEVELOPMENT

Our primary purpose is to promote the personal growth and physical well-being of

our student athletes, to guide them to become in life the best they can be. It is our

abiding goal to foster the ideals, standards, and value systems which will enable

them to grow spiritually, emotionally and intellectually, and to attain degrees in

their chosen fields of endeavor. Unfortunately UGA or UGAAA did not do this

with John Doe.

LEADERSHIP

Our goal is to maintain a model athletic program which other colleges and

universities may wish to emulate. Beyond this, we shall continue to pioneer and

promote policies which will enhance the quality of intercollegiate athletes

throughout America.     Dedication to the personal development of our student
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athletes…..these are the values which underlie our endeavors and the standards by

which we measure ourselves. Unfortunately these were not the actions of UGAAA

including its Chairman and President Morehead in this matter.

        97. The Georgia State Legislature has waived sovereign immunity of the

State and its departments and agencies for claims for breach of written contracts.

OCGA 50-21-1(a).

        98. Defendants and its agents in failing to provide the procedures and rights

guaranteed by their own policies have imposed substantial economic harm upon

Plaintiff, who had lost academic benefits of the classes he was unable to complete,

has suffered reputational harm, has been forced to bear the financial burden of

enrolling in another public university at great expense, and has been forced to

relocate to continue his studies.

        99. Defendants and its agents’ actions constitute breach of contract and

Plaintiff is entitled to compensatory damages to be determined by an impartial

jury.

                             SEVENTH CAUSE OF ACTION

                   Declaratory Relief and Injunction (28 U.S.C. 2201)

                                    (Against all Defendants)

        100. Plaintiffs repeat and reallege each of the foregoing paragraphs in this

Complaint.
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       101. Defendants have committed numerous violations of Federal and state

Law.

       102.   Plaintiff’s future has been severely compromised and damaged.

Without appropriate redress, the sanctions imposed as a result of Defendants’ and

Defendants’ agents biased investigation and hearings and violations of Plaintiff’s

constitutional rights will continue to cause irreversible damage to Plaintiff’s career

and future employment prospects, with no end in sight.

       103. As a result there is a justiciable controversy between the parties with

respect to the outcome, permanency and future handling of Plaintiff’s formal

student record at UGA.

       104. By reason of the foregoing, Plaintiff requests, pursuant to 28 U.S.C.

2201, a declaration that (i) the outcome, findings and sanctions of Defendant

Dawkins of EOO be reversed; (ii) all Sanctions in this matter be reversed; (iii)

Plaintiff’s reputation be restored; (iv) all records at UGA and in Defendants’

possession, including at the UGA Athletic Team Plaintiff was a player/member,

regarding this matter be expunged; (v) the record of Plaintiff’s suspension and all

sanctions from this incident be removed from his education file and any file at

UGA; (vi) any and all recordings pertaining to the investigation be destroyed; (vii)

UGA sanctions in this matter be declared unconstitutional; (viii) Plaintiff’s

permanent release from a UGA Athletic Team be reversed; and (vx) UGA’s
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NDAH Policy as applied and Defendant’s and its agents release of Plaintiff from

an UGA Athletic Team be declared as unconstitutional.

                                       JURY TRIAL
             Plaintiffs demand a trial by jury on all claims triable by a jury in this
lawsuit.
                                  PAYER FOR RELIEF
      WHEREFORE, Plaintiffs respectfully requests that the Court enter judgment

against Defendants and provide Plaintiff with the following relief:

      (a)    That the Court grant Plaintiff’s declaratory and injunctive relief, and

             award compensatory and punitive damages against the Defendants for

             violating and interfering with his rights protected by the First and

             Fourteenth Amendments to free expression, due process and equal

             protection under the law all in an amount to be determined by the

             enlightened conscious of an impartial jury.

      (b)    That Plaintiff recover an award of compensatory damages, including

             but not limited to for loss of income loss of multiple employment

             opportunities, including but not limited to not being drafted/employed

             as a professional athletic player/member in a major professional sports

             league.    Such amount to be shown at trial. The award for

             compensatory and nominal damages as determined by the enlightened

             conscience of the jury;
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       (c)   That Plaintiff recover reasonable costs and expenses of this action,

             including attorney’s fees, in accordance with 42 U.S.C.1988 and all

             other applicable law;

       (d)   That a Declaratory Judgment stating the relief requested in Seventh

             Cause of Action of this Complaint be awarded;

       (e)   That Plaintiff recover an award of punitive damages;

       (f)   That Plaintiff recovery an award of attorney fees;

       (g)   That Plaintiff recover the full value of past and future lost wages in an

             amount to be proven at trial;

       (e)   That Plaintiffs recover for mental and physical pain and suffering,

emotional                 distress, damage to reputation, finances lost from

academic classes he was unable                       to complete and losses from

being forced to enroll in another university, in                   an amount to be

determined by the enlightened conscious of a jury;

       (f)   That Plaintiff recover such other and further relief that is required

under the                 circumstances;

       (g)   That Plaintiff recover such other and further relief as is just and

proper;

             That Plaintiff recover all other further relief to which Plaintiff may be

entitled;                 and
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     (h)   That all issues be tried before a jury.

     This 18th day of February, 2021.


                                          DOROTHY SPINELLI PC



                                                By: s\Dorothy Spinelli
                                                Dorothy Spinelli
                                                Georgia Bar No. 622927
                                                Attorney for Plaintiff


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